       Case: 1:23-cv-01078-CEF Doc #: 120 Filed: 05/16/25 1 of 2. PageID #: 2348




                             UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF OHIO
                                   EASTERN DIVISION

 SANDRINA FIELDS, Administrator of              )   CASE NO.: 1:23-CV-01078
 the Estate of Da’Twuan Catchings,              )
 deceased,                                      )   JUDGE: CHARLES E. FLEMING
                                                )
          Plaintiff,                            )   STIPULATION AND ORDER OF
                                                )   DISMISSAL WITH PREJUDICE
 vs.                                            )
                                                )
 TERRANCE DUNCAN, et al.,                       )
                                                )
          Defendants

         We, the attorneys for the respective parties do hereby stipulate that the above-captioned

matter be hereby dismissed with prejudice as to Defendant Officer Terrance Duncan at

Defendants’ costs, and that the Court may enter an order accordingly, notice by the Clerk being

hereby waived.

         IT IS SO ORDERED:


                                                     JUDGE CHARLES E. FLEMING
   Case: 1:23-cv-01078-CEF Doc #: 120 Filed: 05/16/25 2 of 2. PageID #: 2349




s/Stanley Jackson (via consent (5/16/2025)   s/James A. Climer
MICHAEL L. WRIGHT (0067698)                  JAMES A. CLIMER (0001532)
STANLEY JACKSON (0077011)                    JOHN T. MCLANDRICH (0021494)
ROBERT L. GRESHAM (0082151)                  JOHN D. PINZONE (0075279)
The Cochran Firm – Cleveland                 ZACHARY W. ANDERSON (0095921)
2000 Auburn Drive, Suite 200                 Mazanec, Raskin and Ryder Co., L.P.A.
Beachwood, OH 44122                          100 Franklin’s Row
(216) 333-3333                               34305 Solon Road
(513) 381-7922 - Fax                         Cleveland, OH 44139
Email: mwright@youohiolegalhelp.com          (440) 248-7906
        rgresham@yourohiolegalhelp.com       (440) 248-8861 – Fax
        sjackson@cochranohio.com             Email: jclimer@mrrlaw.com
                                                    jmclandrich@mrrlaw.com
                                                    jpinzone@mrrlaw.com
SAMUEL L. STARKS, GA (676515)                       zanderson@mrrlaw.com
Cochran Firm – Atlanta
100 Peachtree Street, NW, Suite 2600
Atlanta, GA 30303
(404) 222-922                                Thomas J. Sotos (6327630)
(404) 222-0170                               Jeffrey R. Kivetz (6308250)
Email: sstarks@cochranfirmatl.com            The Sotos Law Firm, P.C.
                                             141 W. Jackson Blvd., #1240A
Counsel for Plaintiffs                       Chicago, IL 60604
                                             (630)-735-3300
                                             tsotos@jsotoslaw.com
                                             jkivetz@jsotoslaw.com


                                             Counsel for Defendants Terrance Duncan and
                                             City of Maple Heights




                                             2
